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                                                  Hearing Date & Time: December 9, 2021 at 2:00 p.m.
                                                              Objection Deadline: November 26, 2021
                                                                   Reply Deadline: December 2, 2021

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re
                                                                Chapter 7
  ORLY GENGER,
                                                                Case No. 19-13895 (JLG)
       Debtor.

  DEBORAH J. PIAZZA, as Successor CHAPTER 7
  TRUSTEE, of the Bankruptcy Estate of Orly Genger,             Adv. Case No. 21-ap-01180

       Plaintiff,                                           JOINDER OF MICHAEL
                                                            OLDNER IN THE MOTION TO
           - against –                                      DISMISS OR, IN THE
                                                            ALTERNATIVE, TO STAY
  MICHAEL OLDNER, THE ORLY GENGER 1993                      PROCEEDINGS BY THE ORLY
  TRUST, RECOVERY EFFORT INC., SAGI                         GENGER 1993 TRUST, BY ITS
  GENGER, THE SAGI GENGER 1993 TRUST,                       TRUSTEE MICHAEL OLDNER,
  DALIA GENGER, ELANA GENGER, DAVID                         RECOVERY EFFORT, INC.,
  PARNES, D&K GP LLC, TPR INVESTMENT                        AND MANHATTAN SAFETY
  ASSOCIATES, INC., MANHATTAN SAFETY                        MAINE, INC.
  MAINE, INC. AND JOHN AND JANE DOES 1-100,

       Defendants.

        Michael Oldner, by and through his undersigned counsel, hereby joins in the Motion to

Dismiss or, in the Alternative, to Stay Proceedings [Docket. No. 25] filed by the Orly Genger

1993 Trust, by its Trustee Michael Oldner, Recovery Effort Inc., and Manhattan Safety Maine,

Inc.

Dated: October 22, 2021
       New York, NY
                                                     Respectfully submitted,

                                                     KRANTZ & BERMAN LLP


                                            By:     /s/ Jerrold L. Steigman
                                                    Jerrold L. Steigman
                                                    747 Third Avenue, 32nd Floor
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                                            Attorneys for Michael Oldner




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